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 IT IS ORDERED as set forth below:



 Date: April 20, 2020
                                                     _____________________________________
                                                                 James R. Sacca
                                                           U.S. Bankruptcy Court Judge

 _______________________________________________________________




                         IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

   IN RE:                                       )      CASE NO. 15-66682-JRS
                                                )
   TYRIOM DEMETRICE EDWARDS                     )      CHAPTER 13
                                                )
            Debtor.                             )

         CONSENT ORDER ON MOTION TO APPROVE SALE OF REAL PROPERTY

            On March 12, 2020, the Debtor filed a Motion to Approve Sale of Real Property (the

   “Motion”) (Docket No. 55) requesting permission from the Court to sell real property located at 4119

   Dinmont Chase, Atlanta, GA 30349 (the “Property”) for $310,000.00 to Max Yates. A hearing on

   the motion was scheduled for April 14, 2020. At the telephonic hearing, Debtor’s Counsel, Counsel

   for the Chapter 13 Trustee and Counsel for Wells Fargo Bank, N.A. appeared and an agreement was

   reached. Upon the parties’ agreements and for good cause shown, it is hereby

            ORDERED that the Motion is granted and sale of the Property as set forth above and in the

   Motion is approved and Debtor may proceed with the sale of the Property. It is

            FURTHER ORDERED that (i) Debtor is not to pay anything to facilitate the sale of the
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   Property; (ii) Net proceeds, if any, shall be remitted by the closing attorney to the Debtor; (iii) if the

   Chapter 13 Trustee’s audit of the case shows funds are still owed then Debtor will promptly pay those

   funds to the Chapter 13 Trustee; and (iv) Debtor shall provide the Chapter 13 Trustee a copy of the

   closing statement within 30 days of the closing on the sale of the Property. It is

          FURTHER ORDERED that Wells Fargo Bank, N.A. will be paid in full subject to a proper

   payoff quote and that any sale short of full payoff will be subject to Wells Fargo Bank, N.A.’s final

   approval and the sale of the Property will occur within ninety (90) days of this Order.


                                         [END OF DOCUMENT]
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   Prepared and submitted by:

   _____/s/_______________
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   Georgia Bar #652875
   Attorney for the Debtor
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   3350 Riverwood Pkwy
   Suite 2100
   Atlanta, GA 30339

   No opposition:

   /s/__________________
   Maria C. Joyner
   Georgia Bar No. 118350
   Nancy J Whaley, Chapter 13 Trustee
   Suite 120
   303 Peachtree Center Avenue
   Atlanta, GA 30303
   Attorney for Chapter 13 Trustee

   Consented to by:

   /s/ Signed with express permission
   /s/Taylor S. Mansell
    Georgia Bar No. 940461
   211 Perimeter Center Parkway, N.E.
   Suite 300
   Atlanta, Georgia 30346
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                                        DISTRIBUTION LIST

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